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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 21-61443-CIV-DIMITROULEAS

 JULIA YONAN,

        Plaintiff,
 v.

 WALMART, INC. and NESTLE USA, INC.,

       Defendant.
 _____________________________________/

                                    ORDER TO SHOW CAUSE

        THIS CAUSE is before the Court sua sponte.

        Federal courts are courts of limited jurisdiction. See Kokkonen v. Guardian Life Ins. Co.

 of Am., 511 U.S. 375, 377 (1994); Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.

 1994). District courts have an obligation to inquire into subject matter jurisdiction whenever the

 possibility that jurisdiction does not exist arises, Cheffer v. Reno, 55 F.3d 1517, 1523 (11th Cir.

 1995), and must dismiss an action where it appears that the court lacks jurisdiction. Fed. R. Civ.

 P. 12(h)(3). “[B]ecause a federal court is powerless to act beyond its statutory grant of subject

 matter jurisdiction, a court must zealously insure that jurisdiction exists over a case, and should

 itself raise the question of subject matter jurisdiction at any point in the litigation where a doubt

 about jurisdiction arises.” Smith v. GTE Corp., 236 F.3d 1292, 1299 (11th Cir. 2001). Under

 §1332(a), federal district courts have original jurisdiction over civil actions between citizens of

 different states and where the amount in controversy “exceeds the sum or value of $75,000,

 exclusive of interest and costs.” 28 U.S.C. §1332(a). Federal courts also have jurisdiction over

 certain class actions when the parties are sufficiently diverse and the case has an amount in

 controversy of more than $5,000,000, exclusive of interest and costs. See 28 U.S.C. § 1332(d)(2).
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 In order to meet the diversity requirement under 28 U.S.C. § 1332(d), the parties must fall under

 one of three possible scenarios:

        (A) any member of a class of plaintiffs is a citizen of a State different from any
        defendant;
        (B) any member of a class of plaintiffs is a foreign state or a citizen or subject of a
        foreign state and any defendant is a citizen of a State; or
        (C) any member of a class of plaintiffs is a citizen of a State and any defendant is
        a foreign state or a citizen or subject of a foreign state.

 28 U.S.C.A. § 1332(d)(2).

        Plaintiff has not alleged facts which demonstrate that this Court has jurisdiction. In only

 bringing a state law claim, Plaintiff would necessarily be invoking the Court’s diversity

 jurisdiction; however, Plaintiff does not allege that the parties are adequately diverse nor that

 there is a sufficient amount in controversy.

        Accordingly, it is ORDERED AND ADJUDGED that Defendant shall have up to and

 including July 28, 2021, to respond to this Order to Show Cause, demonstrating that there is

 adequate diversity of citizenship and a sufficient amount in controversy. Plaintiff’s failure to

 respond to this Order will result in this case being dismissed without prejudice for lack of subject

 matter jurisdiction.

        DONE AND ORDERED in Chambers at Ft. Lauderdale, Broward County, Florida, this

 21st day of July, 2021.




 Copies furnished to:
 Counsel of record
